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                                                                                         FILED
                                                                                    IN OPEN COURT


                         IN THE UNITED STATES DISTRICI' COUR'
                                                                                    JAN - 8 2025
                         FOR THE EASTERN DISTRICT OF VIRGINL l
                                     Norfolk Division
                                                                               CLERK, U.S. DISTRICT COURT
                                                                                     NORFOLK, VA
 UNITED STATES OF AMERICA                      )
                                               )
                V.                             )       CRIMINAL NO. 2:25-cr-_\.
                                               )
 CHESAPEAKE REGIONAL MEDICAL                   )       18U.S.C. §371
 CENTER,                                       )       Conspiracy to Defraud the United States
                                               )       and Interfere with Government Functions
                                               )       (Count 1)
 a/k/a CHESAPEAKE GENERAL                      )
 HOSPITAL,                                     )       18U.S.C. §§ 1347 & 2
                                               )       Flealth Care Fraud
 a/lc/a CHESAPEAKE REGIONAL                    )       (Count 2)
 HEALTHCARE,                                   )
                                               )       Criminal Forfeiture
                       Defendant.              )

                                          INDICTMENT


                            January 2025 Tenn - At Norfolk, Virginia

        THE GRAND JURY CHARGES THAT:


        At all times relevant to this Indictment, unless otheiwisc stated:

                                     Introductory Allegations


 Health Care Benefit Programs


        1.      The term “health care benefit program” is defined in 18 U.S.C. § 24(b) to mean any

 public and private plan and contract, affecting commerce, under which any medical benefit, item,

 and service is provided to any individual, and includes any individual and entity who is providing

 a medical benefit, item, and service for which payment may be made under the plan and contract.

        2.      Medicare is a federal health insurance program administered by the Centers for

 Medicare and Medicaid Services (hereafter “CMS"), an agency of the U.S. Department of Health




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 and Human Services. Medicare helps pay for reasonable and medically necessary medical services

 for people aged 65 and older, and some persons under 65 who are blind or disabled.

         3.     Medicaid is a state-administered health insurance program funded predominately

 by the federal government and administered by the Commonwealth of Virginia. Medicaid helps

 pay for reasonable and necessary medical procedures and services provided to individuals who are

 deemed eligible under state low-income programs. The Virginia Department of Medical

 Assistance Services (DMAS) administers the Medicaid program in Virginia.

        4.      The TRICARE Program (TRICARE) is a health care benefit program of the United

 States Department of Defense Military Health System. TRICARE provides civilian health benefits

 for military personnel, military retirees, and their dependents.

        5.      Anthem Blue Cross Blue Shield, Cigna, Aetna, Humana, Sentara Optima, and

 Optum are private health care insurance companies doing business in the Eastern District of

 Virginia.

        6.      Medicare, Medicaid, TRICARE, Anthem Blue Cross Blue Shield, Cigna, Aetna,

 Humana, Sentara Optima, and Optum are “health care benefit programs.”

        7.      The American Medical Association publishes an annual manual of Current

 Procedural Terminology (CPT) codes.        The CPT Manual is a listing of descriptive terms and

 identifying codes for reporting the nature and complexity of medical services and procedures

 performed by physicians. The purpose of the terminology is to provide a uniform language that

 will accurately describe medical, surgical, and diagnostic services.       In 2000, to implement the

 Health Insurance Portability and Accountability Act (PIIPAA) of 1996, the Department of Health

 and Human Services designated the CPT Code set as a national coding standard for physicians and

 other health care professional services and procedures.            As a result, for all financial and



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 administrative health care transactions, CPT Codes must be used in describing health care services

 rendered. Health care benefit programs contractually require health care providers, including

 hospitals and physicians, to use CPT Codes in submitting reimbursement claims.

         8.     Health care providers are given and provided with online access to health care

 benefit program manuals and services bulletins describing proper billing procedures and billing

 rules and regulations.   Providers can only submit claims to health care benefit programs for

 medically necessary services they rendered, and providers are required to maintain patient records

 to verify that the services were provided as described on the claims.

        9.      To receive payment, a provider must submit a claim using aUB-04 (hospital claim

 form) or CMS 1500 (physician claim form), a Health Insurance Claim Form (claim form). Claims

 can be submitted electronically and by mail.

         10.    The claim form requires information about: the date of service for the procedure,

 the service and supplies received, the name of the providing physician, the medical diagnosis, the

 place of service, and the service facility location, among other things.

         11.    By submitting a claim, the provider certifies under penalty of perjury that the

 services and equipment were medically “indicated” and necessary. In the act of submitting the

 claim, the provider is also certifying to the health care benefit program that everything contained

 in it is true and in compliance with rules and laws. Health care benefit programs rely on the truth

 and accuracy of information on the claim form to determine whether to pay the provider for the

 equipment and services rendered.

         12.    Health care benefit programs prohibited payment for items and services that were

 not “reasonable and necessary” for the diagnosis and treatment of an illness or injury. Medicare

 claim forms, for example, require the provider who makes a claim for reimbursement to certify



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 that the services were “medically indicated and necessary for the health of the patient.          The


 DMAS Manual for providers and practitioners states that the physician is responsible for certifying

 that the service is medically necessary any that the treatment prescribed is in accordance with the

 community standards of medical practice.

         13.    Health care benefit programs also required providers to have and maintain

 sufficient documentation to support the medical necessity of performed procedures.

         14.    Elective induction of labor in pregnant women - defined as inducing labor without

 medical necessity - before 39 weeks of gestation is associated with health risks for both the mother

 and baby. It is also contrary to the medical standard of care. Since 1979, the American College

 of Obstetricians and Gynecologists (“ACOG”) has recommended against elective inductions

 before 39 weeks unless medically indicated. As a result, many healthcare benefit programs will

 not reimburse for such procedures as they arc not aligned with established clinical guidelines.

         15.     CMS maintains an “Inpatient Only” list, which includes specific procedures that

 must be performed in an inpatient setting due to their complexity, risk factors, or the need for

 extended postoperative care. These procedures require a minimum of 24 hours of postoperative

 recovery and monitoring to ensure patient safety. CMS updates the list annually. Procedures on

 this list typically involve significant surgical interventions, such as hysterectomies, that require

 close observation for potential complications. Medicare reimburses hospitals for these inpatient

 procedures only when performed in accordance with the guidelines.           If such procedures are

 performed on an outpatient basis. Medicare will deny the claim. Likewise, many private insurance

 programs will not reimburse hospitals at the inpatient rate, often reimbursing at a significantly

 lower outpatient rate. The inpatient authorization process involves greater scrutiny as healthcare




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 providers must submit detailed clinical documentation for review to justify the medical necessity

 of performing the procedure in an inpatient setting.

 Defendant


         16.      Defendant Chesapeake Regional Medical Center (“CRMC”) was a hospital in

 Chesapeake, Virginia, within the Eastern District of Virginia.           It was formerly known as

 Chesapeake General Hospital. Its parent company is Chesapeake Regional Healthcare (CRH),

 which owns CRMC as well as several ancillary imaging and diagnostic centers, and a medical

 group. CRMC was “rebranded” as CRH in 2015.

         17.      CRMC contracted with health care benefit programs, including Medicare,

 Medicaid, TRICARE, Anthem Blue Cross Blue Shield, Cigna, Aetna, Humana, Sentara Optima,

 and Optum, and provided health care for beneficiaries of such programs, meaning it agreed to

 certain reimbursement rates for procedures it provided, and also agreed to abide by each program’s

 mles, policies, and procedures.

         18.      The vast majority of CRMC’s revenues were from reimbursements from health care

 benefit programs for procedures perfomied at CRMC. In order to perform a procedure at CRMC,

 a physician must either be a CRMC employee or have privileges at the hospital. CRMC was aware

 that such physicians would also independently submit bills for reimbursements to health care

 benefit programs for the procedures they performed at CRMC.

 Javaid Perwaiz


         19.      Javaid Perwaiz was first licensed to practice medicine in Virginia in or around April

 1980.   He was also board-certified to practice obstetrics and gynecology.            He was a solo

 practitioner and owned and operated Javaid A. Perwaiz, M.D., P.C., which had two offices in




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 Chesapeake, Virginia. Perwaiz applied lo CRMC for privileges on or about September 1, 1983,

 and was granted privileges in April 1984.

        20.     Perwaiz continued to conduct office visits, in-office diagnostic procedures,

 inpatient and outpatient surgical procedures, and obstetric deliveries throughout the Eastern

 District of Virginia until his arrest on November 8, 2019, including at CRMC. He was enrolled as

 a participating provider with numerous health care benefit programs, including Medicare,

 Medicaid, Anthem, Optima, and Humana. Perwaiz also routinely provided medical services for

 beneficiaries of other health care benefit programs, including TRICARE, Cigna, Aetna, United,

 and others.


        21.     Perwaiz performed all of his obstetric deliveries and inpatient surgeries, including

 hysterectomies, and other surgeries and procedures, at CRMC.           The vast majority of these

 procedures took place on Saturdays when he had a reserved surgical block time at CRMC. He

 often performed as many as ten surgeries per Saturday.

        22.     In November 2020, Perwaiz was convicted of 52 counts of health care fraud and

 false statements in health care matters in 2:19-cr-189 in the U.S. District Court for the Eastern


 District of Virginia. Approximately 38 counts of the convictions were for procedures performed

 at CRMC, including unnecessary hysterectomies and other invasive and irreversible surgeries,

 elective inductions prior to 39 weeks of gestation without medical justification, and sterilizations

 of Medicaid patients without consent forms signed 30 days in advance.

 CRMC’s Credentialing of Perwaiz


        23.     In order to perform a procedure at CRMC, a physician must either be a CRMC

 employee or have privileges at the hospital. Perwaiz applied to CRMC for privileges on or about

 September 1, 1983. While his application was pending, in December 1983, CRMC’s President,



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 who remained the President/Chief Executive Officer (CEO) until 2005, was notified by Mary view

 Hospital in Portsmouth, Virginia, that Perwaiz’s privileges at Maryview had been terminated

 earlier that year.    Maryview terminated Perwaiz’s privileges for performing          unnecessary


 gynecological surgeries, including irreversible hysterectomies on approximately a dozen patients,

 including young patients of child-bearing age. After review of Perwaiz’s application, CRMC’s

 Department of Surgery initially declared him unacceptable for appointment, noting his suspension

 at Maryview for “unnecessary surgery.       Nonetheless, in April 1984, CRMC granted Perwaiz

 privileges to perform surgeries there. Later that year, the Virginia Board of Medicine (which

 regulates physician licensing and is now called the Virginia Department of Health Professions

 (DHP)) addressed Perwaiz’s conduct at Maryview by censuring him for lack of documentation

 and for having a sexual relationship with a patient.

        24.      In 1995, Perwaiz was indicted on six counts of felony tax fraud in the U.S. District

 Court for the Eastern District of Virginia. He pleaded guilty to two of the counts, and admitted in

 public filings to extensive fraudulent conduct, including, among other things, falsely claiming a

 Ferrari luxury sports car as an ultrasound machine so that he could write it off as a business

 expense.     CRMC’s President wrote and submitted a letter of support for Perwaiz’s 1996

 sentencing, calling Perwaiz his “personal friend,” and CRMC’s Chief of the Department of

 OB/GYN attended the sentencing hearing. On April 10, 1996, the Court sentenced Perwaiz to four

 months of home confinement, probation, and community service.

        25.      Following Perwaiz’s felony conviction, on April 29, 1996, the Virginia Board of

 Medicine (the “Board”) revoked Perwaiz’s medical license.        In June 1996, it held a hearing to

 determine whether Perwaiz’s license should be reinstated, and ultimately reinstated it in July 1996

 with stipulated terms and conditions. For the hearing, CRMC’s President filed another letter of



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 support in June 1996 that contained, among other things, a “physician profitability” analysis. The

 President indicated that for calendar year 1995, CRMC was able to charge over $760,000 (or nearly

 $1.5 million in today’s dollars) for Perwaiz’s surgeries, resulting in a profit for the hospital of over

 $400 (or over $820 in today’s dollars) “per case.”

         26.        A local OB/GYN with privileges at CRMC, W.R., also provided information

 regarding Perwaiz to the Board. W.R. estimated that about 2/3 of Perwaiz’s patients’ surgeries

 were medically unnecessary. He highlighted that Perwaiz had a high rate of surgery on young

 women with minimal problems, repeatedly operated on the same patients and conducted recurring

 surgeries on benign cysts, all of which “adds up to a very dangerous situation for patients.” W.R.

 noted that, as a consequence of the tax convictions, Perwaiz would have incentive to keep

 performing unnecessary surgeries as “he’s going to go right back into practice and he’s going to

 have to generate the income to pay those debts.” Regarding financial incentives, W.R. opined that

  unnecessary gynecologic surgery is a growth industry in Chesapeake.” W.R. stated that four

 other doctors in his practice shared his concerns.

         27.        The CRMC Executive Committee met shortly after the Board hearing and discussed

 W.R.’s testimony, of which it had ordered a transcript.         The meeting minutes reflect that it

  view[ed] [W.R.’s] comments as a behavioral issue and will address it at the department level.

 In July 1996, the Executive Committee sent W.R. a letter demanding that he provide substantiating

 data and medical records. W.R. ultimately declined on advice of an attorney and due to patient

 confidentiality.     After the Chesapeake Hospital Authority (the governing body over CRMC)

 recommended W.R. receive a letter of reprimand, the Executive Committee sent W.R. a letter on

 September 12, 1996 which, in part, read, “The Medical Staff Executive Committee has determined

 that [your statements] were reasonably likely to be harmful to the Hospital’s best interests and
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 inconsistent with the Hospital’s objectives and is recommending that you receive a letter of

 admonition and reprimand...You are hereby warned to refrain from making such unsupporlable

 statements in any forum, and most importantly, in a public forum. If the Hospital Authority

 becomes aware of similar action on your part in the future, you may expect initiation of more

 severe corrective action.


         28.       The Executive Committee then initiated a peer review of W.R. On October 10,

 1996, it sent him another letter demanding that he issue a letter of apology to CRMC’s President.

 W.R. complied, stating, “This letter is to formally apologize for any comments that were made at

 the State Board of Medicine Hearing regarding Perwaiz’s appeal for reinstatement of medical

 privileges that could have been interpreted as derogatory towards Chesapeake General Hospital. I

 am in the process of obtaining the charts and records you have requested to confirm any remarks

 that I did make. Please contact me if you find this letter inadequate to comply with the hospital

 staffs Executive Board’s request.     On November 22, 1996, CRMC formally reprimanded W.R.

 for failing to participate in the peer review process.

         29.       W.R. expressed continuing concerns about Perwaiz in a letter to CRMC the

 following year:




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                Dear Sin:


                AfKr reviesvinx a recent c^Kxadng room achoduk uberc Of. PerwaU bad teven cues yhoduted
                back to back in one day with one case involving a 22 year old who was hxvii^ both ovariei
                removed and none of the patients older than 44 yean,! bclkvc Dr. Fenvaiz has returned to the
                type of behavior that has had him to be dUrmtsed from two hOi^Kta] ataffs, conviclod of two
                reloniet, an admission that his life>ityle was out of oontrol, and that he had bribed health
                professkmaJs to maintain his practice.

                Aiks 1 was brought before (his body hud year to explain my testimonyto the Virginia Board of
                Mcdicanc. I was asked to go through prop^ chiusnelt if I saw any medkal care that wv
                inappropriaie. I believe thU body needs to look into Dr. Perwwz's surgical todicatient and
               review his activities. I have eloc^ not to go throu^ the D^MUImeiU of OB/OYN cnce this
               <h^iartmcn( had not taken any action prior to hit previous oonvictiont and bprauiff the individuals
               in power h the tkpartment almost unanimously sui^KKted his bid to rctirm immediaiely to the
               ttaif after hit Utl ditmiiial. Enclosed is an opentive schedule from November.


         30.     A registered nurse conducted a limited review of four of the seven cases W.R.

  referenced. The review for one of the surgeries did not address the absence of an abscess in

  pathology which Perwaiz alleged was the basis for the surgery, or that for another patient it was

  her 7'*’ surgery by Perwaiz in six years. Other than this review, CRMC conducted no investigation

  or review of Perwaiz as a result of the Mary view suspension, the Ibderal tax conviction, or W.R.’s

  concerns. In May 1998, it sent W.R. a letter telling him it was inappropriate to release an operating

  schedule to an outside party.

         31.      CRMC periodically reviewed the credentials of practicing physicians, including

  Perwaiz, every two years. It continually re-credenlialed Perwaiz approximately every two years

  between 1984 and 2019. Credentialing recommendations are ultimately approved by CRMC’s

  CEO.   Perwaiz was last re-credentialed in or around June 2019, and his re-credentialing packet


  contained information regarding his tax conviction and Maryview suspension.


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             32.   Perwaiz’s credenlialing file also contained notes regarding medical malpractice

  lawsuits resulting from procedures he performed at CRMC. Public court records reflect that

  Perwaiz was a defendant in at least eight medical malpractice lawsuits between 1988 and 2019,

  including two where CRMC was named as a co-defendant. In 2009, a patient sued Perwaiz and

  CRMC after she sustained a puncture wound to her bladder during a hysterectomy. A CRMC

  employee’s correspondence regarding the lawsuit noted that Perwaiz’s documentation “consists of

  about 15 words” and that Perwaiz’s deposition testimony conflicted with a CRMC nurse’s

  contemporaneous notes. In 2014, patient D.A. sued Perwaiz and CRMC and alleged Perwaiz

  tricked her into having surgery by falsely telling her cancer was imminent, converted her surgery

  to an abdominal hysterectomy without her consent, and included false statements in her medical

  records.


         33.       From 2010    to 2019,    CRMC received approximately $18.5            million   in

  reimbursements from health care benefit programs for surgical and obstetric procedures Perwaiz

  perfoimed at the facility.

  CRMC’s Knowing Facilitation of Violating Rules and Regulations of Health Care Benefit
  Programs


          34.      CMS mandated that certain procedures be performed “inpatient,” due to the

  invasive nature of the surgery or other factors. To ensure patient safety, these procedures require

  a minimum of 24 hours of postoperative recovery and monitoring in the hospital before discharge.

  These procedures are listed on the Inpatient Only (“IPO”) List. CMS routinely published a list of

  such procedures, which included hysterectomies. Certain health care benefit programs, including

  Medicare, would not reimburse a hospital for an inpatient procedure that is performed on an

  outpatient basis, and the majority of private health care benefit programs reimburse at a

  significantly lower rate. As both CRMC and Perwaiz knew, health care benefit programs apply

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  greater scrutiny for procedures performed inpatient, requiring an increased level of documentation

  supporting medical necessity for reimbursement.

          35.    CRMC knew that Perwaiz routinely and knowingly misclassified IPO surgeries as

  outpatient' procedures but allowed him to continue performing these surgeries, knowing that he

  would bill health care benefit programs for reimbursement. Although CRMC sometimes “wrote

  off’ some of its own billings for those procedures, it also sometimes submitted its own bills to

  health care benefit programs for Perwaiz’s surgeries that it knew should be classified as inpatient.

  CRMC employees repeatedly raised this issue to CRMC executives, but they allowed him to

  continue his practices.

         36.     In late 2014, CRMC’s Director of Finance alerted the Director of Care Management

  of a repeated problem of health care benefit programs refusing to pay CRMC’s bills for procedures

  improperly billed as outpatient. In June 2015, an Insurance Services/Pre-Registration Manager

  emailed a coding specialist and other employees stating, “Dr. Perwaiz likes to do his exploratory-

  lap[roscopie]s as OP [outpatient] ... we often get his cases without much of anything on the

  posting fonns, so we call the office and they provide codes (not always accurate) and status (not

  always accurate).” He also wrote the Director of Care Management to note that Perwaiz “is our

  greatest challenge .... He books his cases within 1-2 days generally and they are just difficult to

  get auth[orizations] from. He does basically whatever he wants to do.

         37.     In July 2015, CRMC’s Director of Health Information Management emailed the

  Director of Care Management and the Director of Patient Access to request a meeting: “Could we

  please sit down and talk about the inpatient only procedures? These are out of control.           The




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    If a procedure is classified as outpatient, the patient will typically be discharged the same day as
  their surgery.
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  Director of Care Management initiated an analysis of one year’s worth of data, which identified

  Perwaiz and another physician as repeatedly improperly classifying inpatient procedures as

  outpatient. While the other physician was receptive to counseling regarding the issue, Perwaiz

  was not, and instead became angry and refused to change his practices.

         38.     CRMC requested elective cases be booked at least two weeks prior to the requested

  surgery date. At a minimum, the hospital required at least 48 hours’ notice for non-emergent

  surgical cases to obtain the necessary authorizations and approvals from health care benefit

  programs, but CRMC routinely allowed Perwaiz to deviate from this policy.            Perwaiz often

  scheduled his Saturday surgeries on late Friday afternoons. Perwaiz’s surgical scheduler stated

  that Perwaiz wanted patients to undergo surgeries, including sterilization procedures, quickly so

  the patients would not have time to change their mind. Perwaiz said of scheduling, “If you do it

  too long out, they don’t show up.      As testified to at trial, Perwaiz’s victims of unnecessaiy'

  surgeries were often rushed into surgery after Perwaiz falsely told them they had cancer and needed

  immediate surgery.

         39.     An Insurance Services/Pre-Registration Manager wrote in a July 2015 email that

  this put his team “at a major disadvantage” in performing authorization management functions. In

  August 2015, the Scheduling Manager wrote in an email to the Director of Care Management, the

  Chief Financial Officer (CFO) and other CRMC directors that “[t]his is an ongoing issue with

  Perwaiz” and that Perwaiz “continues to do whatever he wants.”


         40.     On August 19, 2015, CRMC’s Director of Patient Access wrote in an email to

  another employee: “Currently, we are having specific physicians refuse to schedule as IP

  [inpatient] when it is an IP [inpatient] only. My guidance/opini on on this would be to not schedule

  the cases.... But we need executive support... .Fluge compliance issue.    On August 28, 2015, an



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  Insurance Services/Pre-Regislration Manager emailed the Director of Care Management, the

  Director of Patient Access, and the Scheduling Manager:



          I’m requesting a quick conference call to talk about Dr. Perwaiz. He contacted one
          of my staff members and told her not to contact his office and patients again and
          was extremely rude and claiming that we were rude. He hung up before he could
          be transferred to me. We have gone thi'ough this over the years, including myself,
          but we . . . need support from the C-Suite and the Directors to make sure that he
          adheres to the same protocols that other surgeons do. I have had enough of enabling
          his office. Every week we are scrambling to work his cases at the last minute.

  The Director of Patient Access noted in an August 31, 2015 email that “[cjulturally, this is

  something that needs to change with our organization.

          41.    In October 2015, CRMC’s Chief Medical Officer (CMO) held a meeting with

  Perwaiz, the Director of Care Management, and the Assistant to the Director of Care Management

  about the issue, and told Perwaiz that his practices were hurting the hospital and its patients. After

  the meeting, Perwaiz openly refused to comply, telling CRMC’s schedulers that he had “been

  working these cases like this for over 30 years.” The Scheduling Manager repeatedly warned the

  CMO that Perwaiz was pushing back on schedulers who attempted to refuse to post his inpatient

  surgeries as outpatient.

         42.     CRMC schedulers, pre-admission staff, and nurses repeatedly emailed the Director

  of Care Management that the issue with Perwaiz continued. The Director of Care Management

  directed schedulers to continue booking his surgeries. On April 12, 2016, she wrote in an email

  to the Director of Health Information Management that Perwaiz “continues to do IP [inpatient] as

  OP [outpatient] admin is going to have to take a stand on this.”

          43.    In November 2016, there was a meeting between CRMC’s interim CEO, Perwaiz,

  and the Director of Care Management. At the meeting, Perwaiz, who had recently been identified

  by CRMC’s internal metrics as a “top ten” performer surpassing some multi-physician groups as

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  a   solo practitioner—threatened to take his business elsewhere if CRMC did not allow him to

  continue performing inpatient surgeries as outpatient. On November 7, 2016, the CMO sent a

  letter to all surgeons which, in part, read “Beginning December 5'*’ all procedures that are on the

  IP only list from CMS will require an IP order and authorization. These hospital procedures will


  require authorization regardless of payor if payor dictates the need for an IP authorization.”

  Perwaiz continued using the improper outpatient classification. An Insurance Manager wrote in a

  January 13, 2017 email to the CMO, the Director of Care Management, the Director of Finance,

  the Director of Patient Access, and the Scheduling Manager that Perwaiz “could and should have

  submitted a request for an INPT Authorization.” He also noted the increased scrutiny of the

  surgery that would have followed: “Possibly, VA Premier [the health care benefit program] would

  have sent the request for an inpatient admission to their Medical Director to review. However,

  wouldn’t it be better to know if the existing clinical documentation supports or doesn’t support an

  authorization for an inpatient admission?'

          44.     Two weeks later, the Insurance Manager wrote in an email to the Director of Care

  Management, the Director of Patient Access, and the Scheduling Manager, “What are our options?

  [Perwaiz] is in clear non-compliance with our policy and per the posting sheet below is falsely

  representing what they have requested from [the health care benefit program].” The Director of

  Care Management responded, adding the CMO, CFO, and the Director of Finance to the email:

  “The bottom line is that [Perwaiz] would not and [is] not allowed to schedule at any Sentara facility

  without proper auth and orders but this needs to be an executive level decision....Again, no other

  facility will let him do this....   In one instance, the Director of Care Management addressed

  Perwaiz about these issues while accompanied by the then-CEO. In response, Perwaiz spat on the

  Director of Care Management.



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          45.    Internal emails also reilect that CRMC’s executives were aware of Pcrwaiz's non-


  compliance, but continued to allow him to perfonn inpatient surgeries as outpatient. In May 2017,

  a Nurse Case Manager emailed the Director of Care Management about the issue, noting that it

   ‘happens repeatedly with [Perwaiz].” The Director of Care Management responded, “I have tried.

  It is up to the new CEO to change.” In response to another email about Perwaiz’s non-compliance.

  the Director of Care Management wrote that she had “kicked this one up to the VP [vice president]

  level.” In August 2017, the CMO wrote to the Director of Care Management in response to another

  report of non-compliance that he would get the President/CEO to “hopefully agree to not allow it

  to be posted.” In response to another internal complaint the following year, the Director of Care

  Management wrote that “until administration changes rules we are stuck.

          46.    In June 2019, the CMO requested a financial analysis of the issue. The requested

  analysis showed that private health care benefit programs continued to pay the hospital the

  outpatient rate for dozens of inpatient surgeries. On November 8, 2019, the Scheduling Manager

  advised the Director of Care Management and others that Perwaiz improperly scheduled an

  inpatient only procedure as outpatient for a Humana Gold Plus (Medicare Advantage Health

  Maintenance Organization) beneficiary. Perwaiz’s office staff told schedulers Perwaiz did not

  want to post the surgery as inpatient. Perwaiz continued to post, perform, and bill for non-

  compliant surgeries until his arrest on November 8, 2019.

          47.    When a health care benefit program denied reimbursement in full or in part for an

  IPO procedure based on it being performed on an outpatient basis, CRMC’s practice was typically

  to seek payment from the beneficiary, i.e., the patient. CRMC continued to seek such payments

  from patients directly following Perwaiz’s arrest, sending certain patient accounts to debt

  collection.




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         48.       Two nurses assigned to review medical records as part of the utilization review

  process^ at CRMC on the weekends, when Perwaiz performed his surgeries at CRMC, frequently

  observed that Perwaiz’s medical records lacked sufficient documentation.         One estimated that


  approximately 90% of his charts failed utilization review and lacked documentation and

  independent lab results to support the medical necessity of his surgeries. They reported their

  concerns to management.

         49.     CRMC coders and billers noticed repeated insufficient documentation in Perwaiz’s

  patient records.     One biller commented in an email in 2013 that “[t]his is really poor

  documentation.     [T]he body of the op[eration] [report] doesn't even describe the [lysis of

  adhesions]. ... I bet the MD office billed for all the procedures he documented [ ].

         50.     Unlike nearly all other surgeons at CRMC, Perwaiz did not use photography or

  videography in the operating room that would allow others in the operating room to see what

  procedures he was performing. One surgical technologist refused to continue working with him

  because she could not see what he was doing and informed the CRMC operating room manager

  of the same. In an August 2014 email, the Chief Medical Information Officer wrote regarding

  Perwaiz, “I do not believe that is standard .... to address post op orders prior to surgery. I know

  this would be a safety issue.     A CRMC Appeals Coordinator wrote to the Director of Care

  Management, the Director of Health Information Management, a Health Information Manager,

  and others in March 2016 regarding one of Perwaiz’s surgeries: “Sorry to keep bringing up these

  issues... .The documentation that is currently showing in [the medical record] does not paint a clear




  ^ Utilization review is a process in which a given patient’s care plan—including their inpatient or
  outpatient status—undergoes evaluation, typically contemporaneou s with their admission or
  procedure. The review determines the medical necessity of procedures and might make
  recommendations for alternative care or treatment.

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  picture of what happened to the patient during the stay. The [health & physical] is grossly lacking

  in any detail at all. I don’t know how it can pass as an [health & physical] .... There’s no way

  this can be billed with this kind of documentation.”

           51.    Independent, post-arrest analyses by health care benefit programs Anthem and

  Optima compared Perwaiz’s surgery rates with that of his peers. The analyses formed the basis

  for calculations that estimated that from 2015 to 2019 approximately 80% of Perwaiz’s surgeries


  were medically unnecessary.

           52.    CRMC’s Chief Medical Officer from 2017 through Perwaiz’s arrest and conviction

  wrote in an email after Perwaiz’s arrest that Perwaiz “wasn’t high on our radar, but interesting that


  of all the medical staff he gave me the most grief about moving to centralized peer review and

  increasing scrutiny.

           53.    In May 2017, CRMC staff became alarmed after discovering one of Perwaiz’s

  pregnant patients was scheduled for surgical procedures which included sterilization. A CRMC

  nurse who spoke with the patient learned the patient knew she was pregnant but had not had a

  conversation with Perwaiz concerning the pending surgery. Perwaiz later advised the CRMC

  nurse   that the patient had an ectopic pregnancy but he failed to provide updated records and

  documentation justifying the surgery prior to operating on the patient, despite the nurse’s request.

  CRMC failed to conduct contemporaneous risk reporting or peer review for this incident.

           54.    In January 2014, Perwaiz performed a gynecological surgery on patient M.M. at

  CRMC. Prior to her surgery, M.M. signed a CRMC consent form for an abdominal hysterectomy

  (a removal of the uterus and cervix through an incision in the abdomen). However, Perwaiz also

  performed a bilateral salpingo-oophorectomy (removal of the fallopian tubes and ovaries) even

  though the procedure was not on M.M.’s signed consent form. As documented in an email from



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  a surgical nurse (who testified at Perwaiz’s trial) to the Director of Perioperative Services, Perwaiz

  added the procedure to the consent form after the patient was under anesthesia.         The nurse who

  completed the consent fonn with M.M. before the surgery reported that M.M. did not want her

  ovaries and fallopian tubes removed. The surgical nurse wrote, "I feel as though we performed an

  assault on the patient if she truly did not want to have her ovaries removed. This just really bothers

  me.



         55.     Six months later, in August 2014, Perwaiz removed tissue from patient T.D.C.’s

  left ovary. Prior to surgery, T.D.C. had signed a consent form for the removal of a mass from her

  right ovary. Perwaiz altered her consent form after the procedure. A nurse later wrote in an email

  to the Director of Perioperative Services that prior to the surgery, the operating room nurse had

  verified with both Perwaiz and the patient that the surgery was to be performed on her right side.

  which was reflected in the medical notes Perwaiz had dictated and the marking on the patient.     Her

  email was forwarded to the CMO, who took no action despite his own “wrong site” surgeries in

  2005 which resulted in a 4-month probation through 2010 and 2011. In a 2010 lecture at CRMC

  about his own “wrong site” incidents, he stated “I think Tm even a better chief medical officer

  because ITl be looking at physicians for issues . .   .   .




         56.     Three months later, in November 2014, patient P.A. reported to CRMC that

  Perwaiz had performed a hysterectomy on her at CRMC for a purportedly pre-cancerous lesion,

  but that she had learned in a post-surgery emergency room visit that the lesion was still present

  after the surgery. She reported Perwaiz had given her conflicting infonnation about her condition.

  Her complaint was forwarded to the CMO and other employees; however, no action was taken.

          57.    CRMC nurses observed that Perwaiz’s patients often lacked an understanding of

  their surgeries and repeatedly noted pre- and post-operative knowledge deficits, including patients



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  who did not know what surgery they were going to have or had, and/or the reason for that surgery.

  For example, the CRMC medical record for patient S.N., on whom Perwaiz performed a

  hysterectomy at CRMC in December 2016 after falsely telling her she had cancer, noted that she

  had a knowledge deficit concerning her planned surgery. The concerns of a post-surgery nurse

  regarding Perwaiz’s patients were escalated to the CMO in or around 2018.

          58.     The CRMC medical record for patient D.C. noted that although Perwaiz had written

  the reason for D.C.’s 2013 surgery was pelvic and lower back pain, the patient denied prior to the

  surgery experiencing any pain when a CRMC nurse called her before the surgery. The medical

  record further reflects that D.C. told the nurse that she believed she was having surgery to address


  an enlarged right ovary. Instead, Perwaiz performed a hysterectomy on D.C. at CRMC and left

  her ovaries intact.   He later crossed out the notation in D.C.’s record that she was experiencing


  pain and instead wrote she had “uterine prolapse.

          59.    Title 42 of the Code of Federal Regulations (CFR) 441, Subpart F, requires valid

  consent forms for all sterilization procedures. Title 42 CFR § 441.258 and Medicaid Title XIX, in

  order to be reimbursed for such procedures by Medicaid, require a physician performing

  sterilization to certify that at least 30 days have passed between the date of the individual’s

  signature on the consent form and the date of the sterilization procedure. This requirement was

  instituted, in part, to provide protection for vulnerable populations from coerced sterilization.

          60.    Perwaiz repeatedly performed sterilizations on Medicaid patients at CRMC without

  valid consent forms, and CRMC knowingly allowed him to continue the same. On March 9, 2020,

  well after Perwaiz’s arrest, CRMC advised the North Carolina Department of Health and Human

  Services of an internal audit it conducted concerning the placement of sterilization codes in the

  non-covered column when the patient’s consent was not obtained at least 30 days in advance of a



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  sterilization procedure. CRMC provided the self-disclosure with a refund check in the amount of

  $22,921.53.

  Medically Unnecessary Early Inductions


           61.   An elective induction or delivery by Cesarean section without medical necessity of

  pregnant patients before 39 weeks of gestation is known to pose health risks for the mother and

  baby and is contrary to the medical standard of care. This has been the standard of care since the

  1970s.


           62.   Because Perwaiz saw his patients at his private offices Monday through Friday,

  conducted surgeries at another facility on Friday afternoons, and had his surgical block time at

  CRMC on Saturday mornings, the only time when he was routinely and conveniently available to

  perform obstetric deliveries was at CRMC on Saturdays. Because the chances of spontaneous

  labor on a day or time when Perwaiz was not available to perform the delivery increased as the

  pregnancy progressed, Perwaiz routinely scheduled his patients for elective inductions or Cesarean

  sections at CRMC on Saturdays for no medical reason prior to 39 weeks of gestation in order to

  ensure he was there to perform the delivery (and to bill insurance for it). An OB/GYN with

  privileges at CRMC reported after Perwaiz’s arrest that he observed Perwaiz “seemingly had the

  luck of his obstetrical patients all reaching 39 weeks of gestation in batches that corresponded to

  when he was on a call and in the hospital.'

           63.   The need for intensive neonatal care for babies Perwaiz delivered early was so


  common that neonatologists practicing at CRMC referred to them as the “Perwaiz special.” In or

  around 2008 or 2009, the neonatology group raised their concerns to CRMC management. In

  approximately the same timeframe, CRMC appointed Perwaiz as its chief of obstetrics, in which

  role he continued through at least 2010 and for which he received a periodic stipend from CRMC.



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         64.     In 2011, the Virginian-Pilot newspaper published an article entitled, “Chesapeake

  hospital’s early births higher than most,” reporting that Virginia’s average for normal births

  between 37-39 weeks was 19%, while CRMC’s was more than three times that, or 61%.

         65.     CRMC knew that elective inductions before 39 weeks             were unnecessary and

  contrary to the standard of care. In 2011, it enacted a written policy prohibiting elective inductions

  before 39 weeks of gestation and requiring physicians to submit an “updated prenatal record” at

  the time of scheduling a post-39-week induction.

         66.     A June 2015 email from a Nurse Manager to the CMO noted that “[ejertain MD’s

  schedule procedures at 38.6 days (prior to 39 weeks) and state it is for maternal complications or

  fetal issues, fail to send supporting documentation. Wlien closely looked at, they will fall out by

  1 day because of convenience of the MD.” She also noted false documentation by obstetricians,

  including obstetricians who “[p]erform[ed] cesarean sections on patients and calling it failure to

  progress when in fact the patient has not had an opportunity to labor effectively or at all,” and

   [pjerforming cesarean sections at close of day because of fetal heart rate issues that do not exist

  and documenting otherwise.      Her concerns expressed in this email included both Perwaiz and

  other OB/GYNs at CRMC.          Perwaiz and other physicians with privileges were nonetheless

  thereafter allowed to continue the practice of medically unnecessary early inductions.

         67.     To schedule his elective inductions at CRMC, Perwaiz typically did not submit any

  ultrasounds, but instead a single sheet of paper known as an “OB flowsheet”. For many of his

  obstetric patients, Perwaiz’s OB flowsheet, also contained in the patient’s medical record at

  CRMC, denoted two different due dates in two different styles of handwriting. While one due date

  (which Perwaiz had added) made it appear as if the induction was at or after 39 weeks, the second




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  one (written earlier by his slalTat the patient’s original appointment based on their ultrasound or

  last menstrual period) clearly indicated that the induction was before 39 weeks.

         68.     Unlike almost every doctor, CRMC allowed Perwaiz to forgo the use of electronic

  medical records.   A May 2016 email among labor and delivery (L&D) employees identified

  Perwaiz was the only obstetrician who dictated his history & physicals and delivery notes. The

  Nurse Manager emailed the Director of Women Services that “if an MD dictates their H&P the

  RN carmot view it to verify. So other than the Drs word we cant truly document compliance.

         69.     An analysis of records of TRICARE and Medicaid patients revealed that, in 2019,

  approximately 64% of Perwaiz’s patient OB flowsheets contained two different dates, resulting in

  over 39% of Perwaiz’s Medicaid and TRICARE deliveries at CRMC being perfonned prior to 39


  weeks of gestation without medical indication.

         70.     Perwaiz’s medically unnecessary early inductions were an “open secret” in the

  L&D unit. A CRMC L&D nurse noticed the issue after patients would report due dates different

  from the one Perwaiz had added, or deny symptoms Perwaiz had reported as a basis for early

  inductions. She reported the issue to CRMC’s L&D Nurse Manager, who directed her to continue

  to admit Perwaiz’s patients for deliveries. This L&D nurse also reported a similar issue with

  another patient to a L&D Nurse Supervisor. The Nurse Supervisor directed the nurse to call

  Perwaiz to verify which of the two due dates were correct. Alter the nurse expressed her concern

  that Perwaiz was changing due dates for his own convenience, the Nurse Supervisor reported the

  nurse to the L&D Nurse Manager, reprimanding her in a September 2018 email for saying “a

  negative thing about one of our best doctors” in front of other nurses.

         71.     Jail messaging between Perwaiz and the L&D Nurse Supervisor while Perwaiz was

  awaiting trial indicated that the two had been in a close personal relationship.       The Nurse



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  Supervisor wrote to Perwaiz regarding wine, “I try to drink nothing less than 90 points but I can't

  justify drinking such expensive wine like you bought me. You spoiled me. 1 miss you. XOXOX'

  Perwaiz responded: “Hopefully one day soon 1 will have a chance to spoil you again. That gave

  mesomuchjoy. Miss you far more. XO XO and much more.'' The Nurse Supervisor wrote back,

   ■Just when I feel nothing positive will happen today ... I get your so genuine and heart felt text.

  Now I feel much needed love and 1 can feel your warm embrace.

         72.     During an Ad Hoc Committee Hearing in October 2021, the then CMO stated

  CRMC’s OB Department was a real challenge because it was the most physician-centric place he

  had ever seen when he reported in September 2017. The CMO stated, “.. .that’s one of the reasons

  they brought me here was try to get this ship righted and to make sure we’re focused on patient

  safety and quality and not physician preference and making sure their lifestyle is as it is.

         73.     After Perwaiz’s November 2019 arrest for health care fraud stemming from


  gynecological surgeries, a coding specialist wrote to a L&D nurse in an email that she “always

  wondered about him. [TJerrible documentation and he did so many preterm inductions.

         74.     Perwaiz routinely gave his favored CRMC employees flowers, money, meals, and

  expensive gifts, a practice he continued for years. In 1996, during the proceedings concerning his

  medical license at the Virginia Department of Health, Perwaiz wrote that he “bought lavish gifts

  for friends, nurses, anesthesiologists and others who in any manner assisted with my practice.” He

  particularly favored employees in L&D. From 2012 to 2019, his gifts also included a $200 gift

  card to a post-surgery nurse manager, a $200 check to a L&D nurse, a $500 check to his preferred

  surgical assistant, a $500 check to his preferred scrub technician, a $500 check to a perioperative

  nurse, and paying over $2000 to fund the retirement party of a L&D nurse.




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                                            COUNT ONE
     (Conspiracy to Defraud the United States and Interfere with Government Functions)

          75.    Paragraphs 1 through 73 of the Introductory Allegations are realleged as if repeated

  verbatim herein.


          76.    Beginning at least as early as in and around January 2010 and continuing until in

  and around November 2019, in the Eastern District of Virginia, and elsewhere, the defendant,

  CHESAPEAKE          REGIONAL      MEDICAL        CENTER      (“CRMC”),      a/k/a   CHESAPEAKE

  GENERAL HOSPITAL, a/k/a CHESAPEAKE REGIONAL HEALTHCARE, Javaid Perwaiz,

  and others known and unknown, knowingly and willfully conspired and agreed together and with

  each other, to defraud by deceitful and dishonest means the United States and any agency thereof,

  including the CMS, Medicare, Medicaid, DMAS, and TRICARE, of and concerning its

  governmental functions and rights, including such functions and rights to receive accurate and

  truthful billing submissions, to have healthcare providers comply with applicable rules and

  regulations, and to ensure its beneficiaries receive medical care that is necessary and within the

  standard of care.


         77.     It was a part of the conspiracy that CRMC and Perwaiz agreed to Perwaiz

  continually performing surgeries and other procedures at CRMC, for which surgeries and

  procedures both CRMC and Perwaiz would be reimbursed by Medicare, Medicaid, DMAS,

  TRICARE, and others, where such surgeries and procedures were performed in violation of the

  rules and regulations of such health care benefit programs, including, but not limited to, rules and

  regulations 1) requiring the existence and maintenance of sufficient documentation of medical

  necessity, 2) CMS rules requiring that certain particularly invasive procedures be performed only

  on an inpatient basis, 3) prohibiting the performance of sterilizations of Medicaid beneficiaries




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  without a consent form signed by the beneficiary at least 30 days in advance of the sterilization,

  and 4) requiring all medical treatment to be medically necessary and within the standard of care.

         78.     The objects of the conspiracy were to obtain funds from health care benefit

  programs that would otherwise not be obtained and to prevent health care benefit programs from

  paying only for procedures performed in compliance with their rules and regulations.

         79.     In furtherance of the conspiracy and to effect the purposes thereof, the following

  overt acts, among others, were committed in the Eastern District of Virginia and elsewhere:

                    a.   Continuously through on or about November 2, 2019, CRMC allowed

                         Perwaiz to perform surgeries and other procedures on a weekly basis, which

                         ended only because of Perwaiz’s arrest, and continued thereafter to submit

                         billing reimbursements for such procedures.

                    b.   On or about October 29, 2019, Perwaiz performed a total abdominal

                         hysterectomy and bilateral salpingo oophorectomy on patient D.B. based on

                         false documentation of pelvic pain.     The hysterectomy was medically

                         unnecessary.   D.B.’s secondary insurance was Humana Gold Plus, a

                         Medicare HMO.      CRMC billed Humana for the procedures on or about

                         December 17, 2019.

                    c.   On or about October 12, 2019, Perwaiz performed a sterilization          on


                         Medicaid beneficiary V.B. at CRMC without a sterilization consent form

                         signed by the patient more than 30 days in advance of a procedure, for which

                         CRMC submitted a bill for reimbursement on or about October 30, 2019.


         (All in violation of Title 18, United States Code, Section 371.)




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                                            COUNT TWO
                                        (Health Care Fraud)

         80.     Paragraphs 1 through 73 of the Introductory Allegations are realleged as if repeated

  verbatim herein.


         81.     Beginning at least as early as in and around January 2010 and continuing until in

  and around November 2019, in the Eastern District of Virginia, and elsewhere, the defendant

  CHESAPEAKE         REGIONAL       MEDICAL        CENTER      (“CRMC”),      a/k/a   CHESAPEAKE

  GENERAL HOSPITAL, a/k/a CHESAPEAKE REGIONAL HEALTHCARE, did knowingly and

  willfully execute, and attempt to execute, and aid and abet the same, a scheme and artifice to

  defraud a health care benefit program affecting commerce, as defined in 18 U.S.C. § 24(b), that is,

  Medicare, Medicaid, TRICARE, Anthem, Optima, Humana, Cigna, Aetna, United, and others, and

  obtain, by means of materially false and fraudulent pretenses, representations, and promises.

  money and property owned by and under the custody of Medicare, Medicaid, TRICARE, Anthem,

  Optima, Humana, Cigna, Aetna, United, and others, in connection with the delivery of and

  payment for health care benefits, items, and services.

         82.     The scheme and artifice to defraud was to obtain reimbursements from health care

  benefit programs for obstetric deliveries that were elective inductions for no medical reason before

  39 weeks, contrary to medical necessity and the standard of care.          CRMC submitted such

  reimbursements itself, and aided and abetted Perwaiz and other physicians with privileges at

  CRMC doing the same, by knowingly allowing Perwaiz and other physicians to perform elective

  inductions before 39 weeks for no medical reason.


          83.    Perwaiz exclusively performed his obstetric deliveries at CRMC and routinely

  scheduled them as elective inductions on Saturdays, a day when he was already scheduled be at

  CRMC to perform surgeries. In order to schedule such deliveries, Perwaiz submitted to CRMC

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  an OB flowsheet which often had two different delivery dates clearly noted, which form was

  maintained in CRMC’s patient records. One due date was accurate and within the standard of

  care, while the other one was fabricated later by Perwaiz in order to make it appear that the patient

  was actually at or after 39 weeks of gestation at the time of induction or cesarean section, when

  she was not. A review of such forms for Medicaid patients in 2019 revealed that approximately

  64% of forms were altered, resulting in about 39% of his patients of CRMC being induced before

  39 weeks of gestation for no medical reason.

         84.     The scheme was also patently obvious based on Perwaiz’s longstanding induction

  schedule at CRMC. An OB/GYN with privileges at CRMC observed in a tip to the TBI: “I noticed

  that Dr. Perwaiz seemingly had the luck of his obstetrical patients all reaching 39 weeks of

  gestation in batches that corresponded to when he was on a call and in the hospital. ... I am

  concerned that Dr. Javaid Perwaiz was purposefully withholding patient’s estimated due date so

  that he could falsify charts and make the patients 39 weeks when it was convenient for him to

  induce labor. This would inappropriately expose newborn babies to increase the risk of respiratory

  problems.”

         85.     CRMC employees and practitioners observed or were made aware of such

  discrepancies, but nonetheless allowed Perwaiz to continue such practices, and continued billing

  themselves for the same.


         86.     For example, CRMC allowed Perwaiz to perform an elective induction for no

  medical reason of:


                       a.   A.C., a Medicaid beneficiary, on or about September 21, 2019, when A.C.

                            was only approximately 38 weeks and 2 days into gestation. CRMC billed




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                        the claim on or about November 27, 2019, and it was finally adjudicated on

                        or about November 30, 2019.

                   b. B.P., a Medicaid beneficiary, on or about October 19, 2019, when B.P. was

                        only approximately 38 weeks and 3 days into gestation. CRMC’s bill for

                        the procedure was finally adjudicated on November 29, 2019.

                   c.   H.M., a TRICARE beneficiary, on or about October 19, 2019, when H.M.

                        was only approximately 38 weeks and 5 days into gestation.            CRMC

                        submitted the bill for her claim over six months after Perwaiz’s arrest, on or


                        about May 18, 2020, and it was finally adjudicated on or about August 21,

                        2020.


                   d. A.B., a minor and Medicaid beneficiary, on or about October 26, 2019,

                        when A.B. was only approximately 37 weeks and 6 days into gestation.

                        A.B. had a previous delivery at CRMC in 2018, when she was only

                        approximately 38 weeks and 0 days into gestation. CRMC’s bill for the

                        procedure was finally adjudicated on or about December 17, 2019.


        (All in violation of Title 18, United States Code, Sections 1347 and 2.)




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                                             FORFEITURE


          1.     The defendant, if convicted of the violation alleged in Count I'wo of this

  Information, shall forfeit to the United States, as part of the sentencing pursuant to Federal Rule

  of Criminal Procedure 32.2, any property, real or personal, that constitutes or is derived, directly

  or indirectly, from gross proceeds traceable to the commission of the violation.

         2.      If any property that is subject to forfeiture is not available, it is the intention of the

  United States to seek an order forfeiting substitute assets pursuant to 'fitle 21, United States

  Code, Section 853(p) and Federal Rule of Criminal Procedure 32.2(e).

         3.      The property subject to forfeiture includes, but is not limited to, a monetary

  judgment in the amount of the proceeds the defendant obtained as a result of Count Two.




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  United States ofAmerica v. CHESAPEAKE REGIONAL MEDICAL CENTER
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